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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 18-1546V
                                     Filed: October 15, 2019
                                         UNPUBLISHED


    DORN DYTTMER,
                                                              Special Processing Unit (SPU);
                         Petitioner,                          Ruling on Entitlement; Concession;
    v.                                                        Table Injury; Influenza (Flu) Vaccine;
                                                              Guillain-Barre Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                        Respondent.


Kate Gerayne Westad, SiebenCarey, Minneapolis, MN, for petitioner.
Jeffrey T. Sprague, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Corcoran, Chief Special Master:

        On October 5, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré Syndrome (GBS) as a
result of receiving the flu vaccination, or in the alternative, as a result of the combination
of his flu vaccination the pneumococcal conjugate vaccine PCV 13 Prevnar, on October
9, 2015. Petition at 1, ¶ 1. Petitioner further alleges that he received the vaccination in
the United States, that he suffered the residual effects of his GBS for more than six
months, and that neither he nor any other party has filed a civil action or received

1The undersigned intends to post this ruling on the United States Court of Federal Claims' website. This
means the ruling will be available to anyone with access to the internet. In accordance with Vaccine
Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information, the
disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the undersigned
agrees that the identified material fits within this definition, the undersigned will redact such material from
public access. Because this unpublished ruling contains a reasoned explanation for the action in this
case, undersigned is required to post it on the United States Court of Federal Claims' website in
accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management
and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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compensation for his GBS. Id. at ¶¶ 3, 14. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On October 8, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent indicates “it is [his] position that petitioner has satisfied
the criteria set forth in the recently revised Vaccine Injury Table (“Table”) and the
Qualifications and Aids to Interpretation (“QAI”) which afford petitioner a presumption of
causation if the onset of GBS occurs between three and forty-two days after a seasonal
flu vaccination and there is no apparent alternative cause.” Id. at 8 (citing 42 C.F.R.
§§ 100.3(a)(XIV)(D), 100.3(c)(15)). Respondent further explained that “[w]hile the
petition additionally alleges a potential relationship between the ‘total combined’
Prevnar 13/flu vaccines and GBS (Prevnar 13 is not on the Table for GBS), as
causation is established on the Table regarding the flu vaccine, there is no need for
further discussion on that portion of the claim.” Id.

     In view of respondent’s position and the evidence of record, the
undersigned finds that petitioner is entitled to compensation.

IT IS SO ORDERED.


                                                  s/Brian H. Corcoran
                                                  Brian H. Corcoran
                                                  Chief Special Master




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